                                                 Case 5:11-cv-01846-LHK Document 2676 Filed 11/08/13 Page 1 of 1



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                                           8                                UNITED STATES DISTRICT COURT
                                           9                              NORTHERN DISTRICT OF CALIFORNIA
                                          10                                         SAN JOSE DIVISION
For the Northern District of California




                                          11   APPLE, INC., a California corporation,         )      Case No.: 11-CV-01846-LHK
                                                                                              )
    United States District Court




                                          12                 Plaintiff and Counterdefendant,  )
                                                      v.                                      )      ORDER VACATING NOVEMBER 8
                                          13                                                  )      HEARING
                                               SAMSUNG ELECTRONICS CO., LTD., a               )
                                          14   Korean corporation; SAMSUNG                    )
                                               ELECTRONICS AMERICA, INC., a New York )
                                          15   corporation; SAMSUNG                           )
                                               TELECOMMUNICATIONS AMERICA, LLC, )
                                          16   a Delaware limited liability company,          )
                                                                                              )
                                          17                 Defendants and Counterclaimants. )
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                                                      The Court finds that no hearing is needed to render its decisions on the objections filed on
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                                               November 8, 2013. Accordingly, the Court VACATES the hearing set for November 8, 2013, at
                                          21
                                               1:30 p.m.
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                                               IT IS SO ORDERED.
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                                               Dated: November 8, 2013                              _________________________________
                                          25                                                        LUCY H. KOH
                                                                                                    United States District Judge
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                                               Case No.: 11-CV-01846-LHK
                                               ORDER VACATING NOVEMBER 8 HEARING
